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JuLlE sYLvAlN
Plaintiff,
vs. § civil No. 3:14-cv-01601-vLB
NATHANsoN, clPR\ANo & '
GAMBARDELLA, Pc; Ricl-iARD

TERRY, ESQ.; AND MlDDLESEX
HOSPITAL

February _u@_ 2015

Defendants.
D|SM|SSAL ST|PULAT|ON
The Plaintiff and all Defendants agree that all claims of the P|aintiff, Julie Sylvain,

may be dismissed with prejudice, no costs or fees awarded

 

 

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CERTIF|CAT|ON

l hereby certify that on this 16 day of February, 2015, a copy of the foregoing was

filed electronically (and served by mail on anyone unable to accept electronic filing).

Notice of this filing will be sent by e-mail to all parties named below by operation of the

Court's electronic filing system (or by mail to anyone unable to accept electronic filing).

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